                        Case
      A 0 199A (Rev. 3/87)        1:05-cr-00184-LJO
                           Order Sening Conditions of Release   Document 47 Filed 12/06/05 Page 1 of 3 1 of&~ages
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                           p n i i e b s i x t e e p i e i r i c i Mnlrr                                      i     -b . A 8: 4 9
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                      lN DISTRICT OF                                                                 v      '-*.I &/k
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                 UNITED STATES OF AMERICA

                                                                            ORDER SETTING CONDITIONS
                                   v.                                              OF RELEASE

                                                                        Case Number.

                               Defendant


               IT IS ORDERED that the release of the defendant is subject to the following conditions:

                 (1) The defendant shall not commit any offense in vioIation of federal, state or local law while on release in this
                     case.

                 (2) The defendant shall immediately advice the court, defense counsel and the U.S. attorney in writing of any
                     change in address and telephone number.

                 (3) The defendant shall appear at a11 proceeding

                       imposed as directed. The defendant shall next

                    0               ' 0 S.ty&-c,"
                  F ~ JG4~ D
                         @7j/
                                     Release on Personal Recognizance or Unsecured Bond
               IT IS FURTHER ORDERED that the defendant be released provided that:

       (   J ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence
                    imposed.

       (      ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

                                                                                               dolIars ($                          1
                    in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




WHITE COPY   - COURT        YELLOW - D E F E N D A N T      BLUE - U.S. ATTORNEY   PINK - U . S . MARSHAL         GREEN - PRETRIAL SERVICES
              Case 1:05-cr-00184-LJO Document 47 Filed 12/06/05 Page 2 of 3
  RODRIGUEZ, Ronnie      ADDITIONAL CONDITIONS OF RELEASE
' 05-0184 OWW
                 U p o n finding t h a t release b y o n e o f t h e a b o v e m e t h o d s will n o t b y itself r e a s o n a b l y a s s u r e t h e a p p e a r a n c e o f t h e d e f e n d a n t
 a n d t h e s a f e t y o f o t h e r p e r s o n s a n d t h e c o m m u n i t y , it is F U R T H E R ORDERED t h a t t h e release o f t h e d e f e n d a n t is s u b j e c t to t h e
 c o n d i t i o n s m a r k e d below:

 ( )          (6)          T h e d e f e n d a n t i s p l a c e d in t h e c u s t o d y oT:

                           N a m e o f p e r s o n or o r g a n i z a t i o n

 w h o a g r e e s (a) t o s u p e r v i s e t h e d e f e n d a n t in a c c o r d a n c e w i t h all conditions o f release,
 (h) to u s e c v e r y e f f o r t to a s s u r e t h e a p p e a r a n c e o f t h e d e f e n d a n t at all scheduled c o u r t proceedings, a n d (c) to notify t h e c o u r t
 i m m e d i a t e l y in t h e e v e n t t h e d e f e n d a n t violates a n y conditions o f release or disappears.

                           SIGNED:
                                                      C U S T O D I A N OR P R O X Y

 (X)          (7)          The defendant shall:
              ( )          (a)      maintain or aetively seek employment, and provide proof thereof to the PSO upon request.
              ( )          (b)      maintain or commcnee an edueational program.
              (XI          (c)      abide by the following restrictions on his personal associations. ulaee of abode, or travel:
                                    K e > 1 J c 3 ~ a J e n t . ai nl - p ~ ~ ~ c n [ d n q t r e n t mpe nrt u w s appru\eJ b\ Prelr~alS e r \ : i c < . n n J mu\ cur bcnntcnt frum
                                    thts rc,~,lenie C>r murc than 24 hr1_?~1lhoul                   prior srrnr,1\3l ,,f tne nrcl.Lrum mnruger ur I'SO. rat el re_>triauJLo I're.nu
                                    (aunt\. unless o!nr.ru.rc 3pprcl\cJ n aJbdncc b\ P\O
                                    avoid all contact with the following named persons, who are considered either alleged victims or potential witnesses:
                                      unless in the presence of counsel or otherwise approved in advance by the PSO.
                                     report on a regular basis to the following agencv:
                                    Pretrial Services and eomplv with their rules and regulations.
                                    comply with the following curfew:
                                    refrain from possessing a firearm. destructive device. or other dangerous weapon.
                                    refrain from A N Y use of alcohol, and anv use or unlawful possession of a nareotic drug and other controlled substanees
                                    defined in 21 USC 6802 unless ~reseribedby a lieensed medical ~ractitioner.
                                     undergo medical or psychiatric treatment and/or remain in an institution. as follows: Including treatment for drug and!or
                                    aleohol de~cndeney,and Day for eosts as aporoved by the PSO.
                                    executea bond or an agreement to forfeit upon failing to appear or failure to abide by any ofthe conditions of release, the
                                                                                                              ~     ~~




                                    following sum of money or designated p r o p e e :
                                    post with the court the following indicia or ownership of the above-described property, or the following amount or
                                    percentage of the above-described moncy:
                                    exeeute a bail bond with solvent sureties in the amount of S
                                    return to eustody eaeh (week)day as of o'clock after being released each (weeklday as of o'cloek for employnent.
                                    schooling, or thc following limited purpose(s):
                                    surrender any passport to the Clerk. United States District Court.
                                    obtain no passport during the pendency of this case.
                                     report in person to the Pretrial Services Agency on the first workine day following your rclease from custody.
                                    submit to drue andlor aleohol testine as directed bv PSO.
                                    report any prescriptions to PSO within 48 hours of receipt.
                                    participate in oneofthe following homeeonfinementprogramcomponents and abide by all thc requirements of the program
                                    which ( ) will or ( ) will not includc electronic monitoring or other location verification system.
                                    ( ) (i) Curfew. You are restricted to your residenee cvery day ( ) from                                                to         pp     , or
                                                 ( ) as directed by the Pretrial Services office or supervising officer; or
                                     ( ) (ii) Home Detenlion. You are restricted to your residence at all times except for employment; cducation;
                                                  religious services; or mental health treatment; attorney visits; coun appearances; court-ordered obligations;
                                                  or other activities as pre-approved by the Pretrial Serviccs office or supervising officer; or
                                    ( ) (iii) Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment,
                                                 religious services, and coun appearances pre-approved by thc Pretrial Services offiee or supervision officer.




 (Copies [a. Defendant, US Attorney, US Marshal, Pretrial Services)
Ronnie &  ~ r iu c - z
                                             4
       Case 1:05-cr-00184-LJO Document 47 Filed 12/06/05 Page 3 of 3
A 0 1.99C ( k v . 4/91) Advice of Pmalties . . .                                                            pa~e
                                                        Advice of Penalties and Sandions
TO THE DEFENDANT:
     YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
     A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
a revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment,
a fine, or both.
     The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of
not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year. if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.
     Federal law makes it a crime punishable by up to f;ve years of imprisonment, and a $250,000 fine or both to intimidate or
attempt to intimidate a witness. victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also
a crime punishable by up to ten years of imprisonment, a $250,000 fine or both, to lamper with a witness, victim or informant.
or to retaliate against a witness, victim or informant, or to threaten or attempt to do so.
     If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence.
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
     (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be
          fined not more than $250.000 or imprisoned for not more than ten years. or both;
     (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined
          not more than $250,000 or imprisoned for not more than five years, or both;
     (3) any other felony. you shall bifined not more than $250,000 or imprisoned not more than two years, or both;
     (4) a misdemeanor. vou shall be fined not more than $100.000 or imorisoned not more than one vear. or both.
     A term of imprisonment imposed for failure to appear or surrender shall'be in addition to the sentencl for any other offense.
In addition, a failure to appear may result in the forfeiture of any bond posted.

                                                        Acknowledgement of Defendant
    I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and to surrender for se          sentence imposed. I am aware of the penalties
and sanctions set forth above.



                                                                                             Signature of y d n d a n t




   /
(I/;
                                                       Directions to United States Marshal
       The defendant is ORDERED released after processing.
(    ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that
       the defendant has posted bond andlor complied with all other conditions for release. The defendant shall be produced before

                          /
                          L4m
       the appropria 'udicial officer at the time and place specified, if still in custody.
        Date:            L, b 4 mr                 w




                                                                                       Name and Title of Judicial Officer




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WHITE COPl COURT                             -
                                    VEUOW DEFENDLHT             BLUE. U.S. ATmRNEY       -
                                                                                     PINK U.S. W H * L                    -
                                                                                                                   GREEN PRETRUL SER4l-S
